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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 SEOK JAE YANG,

                                  Plaintiff,                        JUDGMENT
        v.                                                          24-cv-05459-LDH-TAM

 SUNRISE SENIOR SERVICE LLC d/b/a,
 HANMAUM DAYCARE, TAEYOUNG SONG,
 JIEUN OH, AURUM TRADING INC., JI HOON
 YOU, KANGSAN CONSULTING LLC,
 KANGSAN LEE, L & K OFFICE INC.,
 JIN YOUNG KANG a/k/a JINYOUNG KANG
 a/k/a JIN Y. KANG, and DOES 1 through 50,
 inclusive,
                                    Defendants.
 ---------------------------------------------------------------X
         A Minute Entry and Order of the Honorable LaShann DeArcy Hall, United States District

Judge, having been filed on January 10, 2025, granting Defendants Sunrise Senior Service LLC,

Taeyoung Song, and Jieun Oh’s oral motion to dismiss; and

        An Order having been filed on April 15, 2025, denying the letter requests by Defendant

Kangsan Lee and Defendant Aurum Trading Inc. for permission to join in defense of

Defendants Song and Tae-young as moot; and directing the Clerk of Court to close this case; it

is

        ORDERED and ADJUDGED that Defendants Sunrise Senior Service LLC, Taeyoung

Song, and Jieun Oh’s oral motion to dismiss is granted; and that the letter requests by Defendant

Kangsan Lee and Defendant Aurum Trading Inc. for permission to join in defense of

Defendants Song and Tae-young are denied as moot.

Dated: Brooklyn, New York                                           Brenna B. Mahoney
       April 15, 2025                                               Clerk of Court

                                                              By:    /s/Jalitza Poveda
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                                                Deputy Clerk
